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5
6                               UNITED STATES DISTRICT COURT
7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
                                                )   Case No.: 2:22-CR-0011-DAD-2
9    UNITED STATES OF AMERICA,                  )
                                                )
10                 Plaintiff,                   )   STIPULATION AND ORDER TO
                                                )   CONTINUE JUDGMENT AND
11       vs.                                    )   SENTENCING HEARING
     NATHAN ROSENBLATT, ET AL.,                 )
12                                              )   Date:    3/28/23
                   Defendant.                   )   Time:    9:30 a.m.
13                                              )   Judge:   Hon. Dale A. Drozd
14
15
16                                          STIPULATION

17         Plaintiff United States of America, by and through its attorney of record, Assistant

18   United States Attorney CAMERON L. DESMOND, and Defendant NATHAN

19   ROSENBLATT, by and through his counsel of record, Thomas Johnson, hereby stipulate

20   as follows:

21      1. By previous order, the judgment and sentencing hearing was set for 2/21/2023.

22      2. The parties stipulate to continue the hearing to 3/28/2023. The Schedule for

23         Disclosure of Pre-Sentencing Report and for Filing Objections to the Pre-Sentence

24         Report is amended as follows:

25         a. Judgment and Sentencing Date: 3/28/2023.

26         b. Reply or statement of non-opposition: 3/21/2023.

27         c. Motion for correction of Pre-Sentence Report shall be filed with the court and

28             served on the probation office and opposing counsel no later than: 3/14/2023.




                            STIPULATION AND ORDER                   -1-
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1             d. The Pre-Sentence Report shall be filed with the court and disclosed to counsel
2                no later than: 3/7/2023.
3             e. Counsel’s written objections to the Pre-Sentence Report shall be delivered to
4                the Probation Officer and Opposing counsel no later than: 2/28/23.
5             f. The Proposed Pre-Sentence Report shall be disclosed to counsel no later than:
6                2/14/23.
7
8    IT IS SO STIPULATED.
9    DATE: January 24, 2023
10                                                     /s/ Thomas A. Johnson
                                                       THOMAS A. JOHNSON
11                                                     Attorney for Nathan Rosenblatt
12
     DATE: January 24, 2023
13                                                     /s/ Monica A. Quinlan
14                                                     MONICA A. QUINLAN
                                                       Attorney for Nathan Rosenblatt
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18
     DATED: January 24, 2023
19
20                                                     /s/ Cameron Desmond
                                                       CAMERON DESMOND
21                                                     Assistant U.S. Attorney
22
23                                             ORDER
24
25            IT IS SO ORDERED.
26
     Dated:     January 24, 2023
27                                                  UNITED STATES DISTRICT JUDGE
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                             STIPULATION AND ORDER                    -2-
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                STIPULATION AND ORDER              -3-
